Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document      Page 1 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document      Page 2 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document      Page 3 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document      Page 4 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document      Page 5 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document      Page 6 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document      Page 7 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document      Page 8 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document      Page 9 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document     Page 10 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document     Page 11 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document     Page 12 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document     Page 13 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document     Page 14 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document     Page 15 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document     Page 16 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document     Page 17 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document     Page 18 of 19
Case 20-62468-sms   Doc 26    Filed 09/29/20 Entered 09/29/20 11:32:55   Desc Main
                             Document     Page 19 of 19
